 -        [ Goog le Metadata Exhibit View
Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 1 of
     Default Catef!ory
       Control Number:      GOOG-PLAY-007036302

         AIICustodians:     Harrison , Donald

                   Title:   Apple Partnersllip Strategy Document - Oct '20 (Privileged and
                            Confideniial)

              Filename:     Apple Partnersllip Strategy Document -
                            Oct_ 1zYGzO3OLCpXlilnytyCyyEGyXBy8QBAl76gJx4GV04jl.docx

           DateCreated:     3/17/2020

          TimeCreated:      20 1O:OO

      OateLastModified:     11121 /2020

     TimeLastModified:      02:00:00

           RecordType:      E-Document

           Application:       Caity Downey


                Author:      Caity Downey (Google)

        Production Vol.:    PROD024

       Group Identifier:

                Subject:

              DateSent:

              'fimeSent

            Email From:

              Email To:

              Email CC:                                    EXHIBIT 1493
            Email BCC:


                                                                  EXHIBIT 1493-001
                                              Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 2 of 9
                                                                                                            ATTORNEY-CLIENT PRIVILEGED &
                                                                                                                                       &CONFIDENTIAL


  Apple Partnership Strategy
  Internal Briefing
  Internal Briefing Document;
                    Document; Privileged
                              Privileged and Confidential
                                         and Confidential
                             mschloss@ and cdowney@
  Last Updated: 10/29/20 by msch/oss@


  RELATIONSHIP SUMMARY: The      The Apple/Google    relationship is
                                     Apple/Google relationship        predominantly amicable
                                                                  is predominantly               across Search,
                                                                                       amicable across   Search, YT,
                                                                                                                 YT, Cloud,
                                                                                                                     Cloud, Ads,
                                                                                                                            Ads, and
                                                                                                                                   and Corp
                                                                                                                                       Corp Eng.
                                                                                                                                             Eng. That being said,
                                                                                                                                                  That being         despite
                                                                                                                                                               said, despite
  the size of
  the size of the relationship, Apple
              the relationship,        doesn't always
                                Apple doesn't  always treat
                                                       treat Google
                                                             Google asas one
                                                                         one of
                                                                              of its
                                                                                 its largest
                                                                                     largest partners.
                                                                                             partners. For
                                                                                                       For example,
                                                                                                           example, Apple  has been
                                                                                                                     Apple has  been slow
                                                                                                                                      slow to  incorporate its
                                                                                                                                            to incorporate  its major
                                                                                                                                                                major services
                                                                                                                                                                       services
  (AppleTV,
  (Apple TV, Apple  Music) onto
             Apple Music)   onto Google
                                  Google 11P
                                           PHW
                                             HW (Android
                                                  (Android TV
                                                            TV and
                                                               and Google
                                                                    Google Assistant     devices). Apple
                                                                             Assistant devices).          put these
                                                                                                   Apple put  these services
                                                                                                                    services first on Amazon.
                                                                                                                             first on Amazon. Apple    also doesn't
                                                                                                                                                 Apple also  doesn't prioritize
                                                                                                                                                                      prioritize
  interoperability between
  interoperability between Apple's   1P
                             Apple's 1 Pservices  and 3P
                                         services and  3P services,  and often
                                                          services, and          responds slowly
                                                                          often responds    slowly to Google's developer
                                                                                                   to Google's  developer relations
                                                                                                                          relations outreach.
                                                                                                                                     outreach.

  The  fairly positive
  The fairly  positive relationship
                         relationship with Apple is
                                      with Apple  is grounded
                                                     grounded in in the
                                                                    the Search
                                                                         Search agreement,
                                                                                 agreement, andand subsequent
                                                                                                   subsequent strong
                                                                                                                 strong top-to-top
                                                                                                                        top-to-top engagement,
                                                                                                                                   engagement, butbut Apple could pose
                                                                                                                                                      Apple could pose a
                                                                                                                                                                       a
  significant  risk if
  significant risk  if these  were not
                       these were   not in
                                        in place
                                           place through
                                                 through its
                                                           its ability
                                                               ability to 1) close
                                                                       to 1) close its
                                                                                     its ecosystem
                                                                                         ecosystem to
                                                                                                    to Google
                                                                                                       Google entry
                                                                                                               entry points
                                                                                                                     points and
                                                                                                                            and services,
                                                                                                                                 services, 2)
                                                                                                                                           2) refuse
                                                                                                                                              refuse to discuss/consider
                                                                                                                                                     to discuss/consider
  optimizations
  optimizations to     Google experiences
                  to Google    experiences onon iOS
                                                 iOS (like
                                                     (like Safari
                                                           Safari Suggest),
                                                                   Suggest), oror 3)
                                                                                  3) provide
                                                                                      provide Apple
                                                                                              Apple services
                                                                                                     services on  other HW
                                                                                                              on other  HW and
                                                                                                                            and not
                                                                                                                                 not Google's.
                                                                                                                                     Google's.

  GOOGLE'S PARTNERSHIP STRATEGY: Google       Google initiates
                                                      initiates partnerships
                                                                partnerships that  create a
                                                                              that create    better, more
                                                                                           a better, more fluid  user experience.
                                                                                                          fluid user              In practice,
                                                                                                                      experience. In practice, this
                                                                                                                                               this means
                                                                                                                                                    means Google
                                                                                                                                                            Google either
                                                                                                                                                                   either
  creates Google
  creates Google products
                  products to
                            to fit
                               fit within
                                    within Apple's ecosystem (e.g.,
                                           Apple's ecosystem     (e.g., Google
                                                                        Google apps
                                                                               apps for  iOS or
                                                                                     for iOS    Google Maps
                                                                                             or Google  Maps on on CarPlay),
                                                                                                                   CarPlay), or
                                                                                                                             or adding
                                                                                                                                adding Apple's
                                                                                                                                        Apple's services
                                                                                                                                                 services to Google's
                                                                                                                                                          to Google's
  ecosystem (e.g.,
  ecosystem  (e.g., Apple  Music to
                    Apple Music    to Google
                                      Google Assistant/Nest
                                               Assistant/Nest devices).
                                                                devices). Google
                                                                           Google also
                                                                                   also supports
                                                                                        supports Apple's
                                                                                                   Apple's backup
                                                                                                           backup ofof iCloud
                                                                                                                       iCloud user
                                                                                                                              user data
                                                                                                                                   data onto
                                                                                                                                         onto GCP
                                                                                                                                               GCP and
                                                                                                                                                    and supports
                                                                                                                                                         supports Apple's
                                                                                                                                                                  Apple's
  marketing efforts
  marketing          via GCAS.
            efforts via  GCAS.

  APPLE STRATEGIC PRIORITIES
       •
     • Increase
         Increase Services
                    Services revenue:
                              revenue: Apple
                                          Apple is
                                                 is building
                                                    building out    its Services
                                                               out its  Services capabilities
                                                                                   capabilities (including
                                                                                                  (including the
                                                                                                               the Apple  Store, Apple
                                                                                                                    Apple Store,  Apple Music,
                                                                                                                                          Music, AppleTV+),
                                                                                                                                                   AppleTV+), as    it seeks
                                                                                                                                                                as it  seeks to
                                                                                                                                                                              to reduce
                                                                                                                                                                                 reduce its
                                                                                                                                                                                         its
         reliance on
         reliance      HW revenue
                   on HW    revenue streams.
                                      streams. InIn Q4
                                                    Q4 FY20,
                                                        FY20, Apple's
                                                                Apple's Services
                                                                           Services revenue
                                                                                       revenue continued
                                                                                                continued building
                                                                                                              building on
                                                                                                                       on multiple
                                                                                                                           multiple quarters
                                                                                                                                      quarters ofof growth   and hit
                                                                                                                                                    growth and    hit an
                                                                                                                                                                      an all-time
                                                                                                                                                                         all-time high
                                                                                                                                                                                   high
         ($14.5B, +16%
         ($14.SB,  +16% YoY).     Services have
                           YoY). Services    have grown
                                                   grown to    more than
                                                           to more           half the
                                                                       than half  the volume
                                                                                        volume ofof iPhone
                                                                                                    iPhone revenue
                                                                                                              revenue and
                                                                                                                       and ~22%
                                                                                                                            -'22% ofof overall
                                                                                                                                        overall revenue.
                                                                                                                                                revenue. Apple     launched a
                                                                                                                                                            Apple launched     aservices
                                                                                                                                                                                 services
         bundle, called
         bundle,  called "Apple
                          "Apple One"
                                   One" in
                                         in October
                                            October 2020
                                                      2020 that
                                                             that offers
                                                                   offers various
                                                                            various tiers
                                                                                      tiers of
                                                                                            of service
                                                                                               service subscriptions,     including Apple
                                                                                                        subscriptions, including              Music, Apple
                                                                                                                                      Apple Music,    Apple TV+,
                                                                                                                                                              TV+, Apple
                                                                                                                                                                    Apple Arcade,    iCloud,
                                                                                                                                                                           Arcade, iCloud,
        Apple   News+, and
        Apple News+,      and its
                               its new
                                   new Apple    Fitness+ offering.
                                        Apple Fitness+     offering. (Additional
                                                                        (Additional detail)
                                                                                      detail)
       •
     • Build
         Build out  Wearables category:
               out Wearables      category: Despite
                                              Despite the
                                                       the recent
                                                            recent strength
                                                                     strength of    iPhone sales,
                                                                                of iPhone    sales, Apple
                                                                                                     Apple isis also
                                                                                                                also working
                                                                                                                     working diligently    to build
                                                                                                                               diligently to  build up
                                                                                                                                                     up its
                                                                                                                                                        its wearables
                                                                                                                                                            wearables andand accessories
                                                                                                                                                                              accessories
         businesses. Wearables
         businesses.    Wearables in in particular
                                        particular create
                                                    create new
                                                             new entry
                                                                   entry points
                                                                           points into
                                                                                   into Apple's   increasingly sticky
                                                                                         Apple's increasingly     sticky and  pervasive ecosystem,
                                                                                                                         and pervasive     ecosystem, fueling
                                                                                                                                                         fueling Services
                                                                                                                                                                  Services growth.
                                                                                                                                                                             growth.
       •
     • Retain
         Retain users
                 users within
                        within the   iOS ecosystem:
                                the iOS                 Most of
                                          ecosystem: Most       of Apple's    iPhone native
                                                                   Apple's iPhone       native apps
                                                                                               apps are
                                                                                                      are all
                                                                                                          all Apple-managed
                                                                                                              Apple-managed and  and lead
                                                                                                                                       lead to
                                                                                                                                             to Apple
                                                                                                                                                Apple services    (see image
                                                                                                                                                       services (see    image ofof iPhone
                                                                                                                                                                                   iPhone
         home screen
         home   screen inin Appendix
                            Appendix 1  1). However, with
                                         ). However,          the launch
                                                       with the    launch of   iOS 14
                                                                            of iOS   14 in
                                                                                         in September
                                                                                            September 2020,
                                                                                                         2020, users
                                                                                                                 users can
                                                                                                                        can select
                                                                                                                            select other
                                                                                                                                     other default
                                                                                                                                            default email
                                                                                                                                                     email and
                                                                                                                                                             and browsers.
                                                                                                                                                                 browsers. This     strategy
                                                                                                                                                                              This strategy
         has performed
         has  performed well
                           well - Apple's
                                  Apple's preloaded
                                   -        preloaded apps
                                                        apps comprised
                                                                comprised 17  17 of
                                                                                  of the
                                                                                     the 2020 most-used
                                                                                              most-used iPhone
                                                                                                            iPhone applications
                                                                                                                     applications inin September
                                                                                                                                       September 2020.
                                                                                                                                                     2020. Only
                                                                                                                                                             Only one
                                                                                                                                                                  one Google
                                                                                                                                                                        Google app,
                                                                                                                                                                                 app, gMail,
                                                                                                                                                                                      gMail,
        was   within this
        was within         top 20
                      this top      (#19).
                                20 (#19).


  PRIORITY RELATIONSHIP ISSUES
     •• iOS 14 changes: Google
                           Google leadership
                                   leadership and  developer relations
                                               and developer  relations teams
                                                                        teams are
                                                                                are working to understand
                                                                                    working to understand what
                                                                                                           what impact
                                                                                                                  impact Apple's   policy changes
                                                                                                                           Apple's policy changes announced    at
                                                                                                                                                    announced at
         WWDC    will have
         WWDC will    have on Google's products
                           on Google's  products and  services. These
                                                  and services.        changes include
                                                                These changes     include updates
                                                                                          updates to
                                                                                                  to Apple's
                                                                                                     Apple's ads
                                                                                                              ads tracking   policies where
                                                                                                                   tracking policies          apps that
                                                                                                                                      where apps   that engage
                                                                                                                                                        engage in
                                                                                                                                                               in cross-
                                                                                                                                                                  cross-
         app or website
         app or website tracking
                         tracking will
                                  will have
                                       have to request permission
                                            to request permission to  do so.
                                                                   to do  so. While
                                                                              While these
                                                                                     these changes
                                                                                           changes were
                                                                                                    were supposed
                                                                                                         supposed to  to launch
                                                                                                                         launch with
                                                                                                                                 with iOS
                                                                                                                                      iOS 14
                                                                                                                                          14 in
                                                                                                                                              in September
                                                                                                                                                 September 2020,
                                                                                                                                                           2020,
         confusion
         confusion and   pushback
                     and push back from
                                    from developers  and advertisers
                                         developers and   advertisers led
                                                                      led Apple  to delay
                                                                          Apple to  delay these
                                                                                          these changes
                                                                                                changes until
                                                                                                         until early
                                                                                                               early 2021.   (Additional detail).
                                                                                                                     2021 . (Additional  detail).

       •• Google App Promotion: Google
                                     Google App
                                            App promotion
                                                  promotion in
                                                            in the  iOS store
                                                               the iOS          was agreed
                                                                         store was  agreed in
                                                                                            in Google's
                                                                                               Google's current
                                                                                                        current Search
                                                                                                                Search agreement   (Sep 2016),
                                                                                                                       agreement (Sep           yet we
                                                                                                                                        2016), yet  we have
                                                                                                                                                       have not
                                                                                                                                                             not seen
                                                                                                                                                                 seen
          significant
          significant App   Store promotions.
                      App Store   promotions. In
                                               In November
                                                  November 2019,
                                                            2019, Apple     ran an
                                                                    Apple ran   an iOS
                                                                                   iOS App
                                                                                       App Store
                                                                                            Store promotion
                                                                                                  promotion on
                                                                                                             on browsers
                                                                                                                browsers on
                                                                                                                          on the iOS App
                                                                                                                             the iOS      Store and
                                                                                                                                     App Store   and positioned
                                                                                                                                                     positioned Chrome
                                                                                                                                                                 Chrome
          as
          as #7  of the
             #7 of      7featured
                    the 7           browsers. Edge
                          featured browsers.   Edge was  positioned at
                                                    was positioned    at #1.  (Photos). Apple
                                                                         #1. (Photos).         has now
                                                                                        Apple has  now assigned
                                                                                                        assigned a person to
                                                                                                                 a person to work  on potential
                                                                                                                             work on  potential iGSA
                                                                                                                                                 iGSA and
                                                                                                                                                      and Chrome
                                                                                                                                                          Chrome
          promotions, but
          promotions,   but we  are waiting
                             we are waiting on
                                            on the
                                               the outcomes
                                                   outcomes ofof this
                                                                 this assignment.
                                                                      assignment.




NON-PARTY HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
                                             -                                                                                                                           GOOG-PLAY-007036302

                                                                                                                                                                            EXHIBIT 1493-002
                                         Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 3 of 9
                                                                                                       ATTORNEY-CLIENT PRIVILEGED &
                                                                                                                                  &CONFIDENTIAL




      •• Messaging
         Messaging Interoperability:
                      Interoperability: Google
                                        Google isis interested
                                                    interested in
                                                                in working
                                                                   working with
                                                                           with Apple   on interoperability
                                                                                 Apple on  interoperability between
                                                                                                             between iMessage
                                                                                                                       iMessage and
                                                                                                                                  and Android   Messages. However,
                                                                                                                                       Android Messages.    However, toto
         date, Apple  has  not expressed   interest  in partnering  on messaging,   which we  expect  is  driven by the following
         date, Apple has not expressed interest in partnering on messaging, which we expect is driven by the following reasons:    reasons:
             •• iMessage
                  iMessage asas an
                                an iPhone
                                    iPhone differentiator:
                                            differentiator: Apple
                                                             Apple believes
                                                                    believes that the "blue
                                                                             that the "blue bubble
                                                                                            bubble vs.
                                                                                                    vs. green   bubble" controversy
                                                                                                         green bubble"  controversy isis a
                                                                                                                                         apowerful
                                                                                                                                           powerful differentiator
                                                                                                                                                    differentiator for
                                                                                                                                                                   for iPhone
                                                                                                                                                                       iPhone -
                                                                                                                                                                              -




                 -
                 - keeping users within the
                                          the iOS ecosystem
             •• Apple
                 Apple concerns about privacy: Apple Apple has been hesitant toto partner externally given its overall distrust in other
                                                                                                                                    other companies' ability to protect user
                  privacy.
                  privacy.

      •• CarPlay/Google Automotive Services: Google
                                                 Google Automotive
                                                          Automotive Services
                                                                       Services would
                                                                                would like
                                                                                      like to access iPhone
                                                                                           to access iPhone communication
                                                                                                             communication features
                                                                                                                               features via  Bluetooth (call,
                                                                                                                                         via Bluetooth (call,
         messages) when    aCarPlay session
                      when a          session is active. Right now, in Google Automotive
                                                                               Automotive Services vehicles, iPhone users will
                                                                                                                             will not be able
                                                                                                                                         able to make calls via 0KG,
         unless the user disconnects CarPlay. This harms the user experience,
                                                                      experience, both for
                                                                                       for Google Automotive
                                                                                                   Automotive Services and the vehicle OEM. Google is unsure
         whether
         whether this
                  this was an intentional block by Apple to
                                                          to strengthen
                                                             strengthen the
                                                                         the value proposition of
                                                                                               of CarPlay relative to other services (including GAS) and cannot find
                                                                                                                                                                  find
         out
         out from
             from Apple
                   Apple because the
                                  the working-level
                                      working-level CarPlay team
                                                              team has become unresponsive.

      •• YouTube Video Codecs (Video Compression Standards): Apple   Apple is currently working
                                                                                        working towards implementing the VP9VP9 video codec on select iOS and
         AppleTV
         AppleTV devices by Fall 2020. However, in September 2017, AppleApple committed to to adopting AV1 (the next gen codec after VP9) across their
                                                                                                                                                 their devices
         prior to the release of
                              of a
                                 a new Apple
                                       Apple TV device in Fall 2020 -- making it unlikely that Apple
                                                                        -                      Apple will hit the
                                                                                                              the AV1 commitment. YouTube
                                                                                                                                  YouTube expects
                                                                                                                                           expects Apple
                                                                                                                                                   Apple to
                                                                                                                                                          to adopt
         AV1
         AV1 video codec no later than
                                    than 2022,
                                         2022, but Apple has not committed
                                                                 committed to this.

      •• iOS In App Purchase (IAP)
                              (lAP) Payments Policy: Apple
                                                       Apple requires that iOS apps use Apple's
                                                                                         Apple's payments platform and provide Apple with   a15-30% recurring
                                                                                                                                       with a
         service
         service fee. Given challenging economics and steep    lAP rev share
                                                        steep IAP      share terms,
                                                                              terms, YouTube TV
                                                                                             TV began disabling purchases of new subscriptions via     lAP in
                                                                                                                                                   via IAP
         June
         June 2019.
               2019. On March 13, 2020 YouTube
                                         YouTube TV turned      lAP for
                                                     turned off IAP  for residual YouTube TV
                                                                                          TV subscribers. Apple (Peter Stern) was notified of this plan and
         understood the rationale of this
                                     this approach. Stadia has not included gameplay in its app, partially due to
                                                                                                               to Apple's lAP policy.
                                                                                                                  Apple's IAP

      •• Cloud Gaming: iOS AppApp Store guidelines
                                        guidelines will not allow Cloud gaming
                                                                         gaming services
                                                                                 services on
                                                                                          on iOS if there is gameplay (i.e., active content consumption) within
                                                                                                                                                          within the
         app. Apple claims that including gameplay within thethe app violate App
                                                                             App Store policies because Apple cannot review each each game                  aresult
                                                                                                                                      game individually. As a
         of
         of this
            this Apple                    lAP payments policy, Stadia does not currently have gameplay available within its iOS app.
                 Apple policy and Apple's IAP

  MAJOR ACTIVE DISCUSSIONS
     •• AppleTV  &Android TV: Active
        Apple TV &                      negotiations
                                 Active negotiations
           oo Apple   launched AppleTV+
                Apple launched   AppleTV+ (Apple's
                                            (Apple's subscription
                                                     subscription streaming
                                                                  streaming service)
                                                                            service) in
                                                                                     in Q4
                                                                                        Q4 2019
                                                                                           2019 on
                                                                                                on almost
                                                                                                   almost all
                                                                                                          all other
                                                                                                              other major
                                                                                                                    major TV
                                                                                                                           TV operating
                                                                                                                              operating systems
                                                                                                                                        systems except
                                                                                                                                                 except for
                                                                                                                                                          for
                AndroidlV
                AndroidTV & & Chromecast. The Android
                                                 Android TV
                                                         TV and Apple
                                                                 Apple teams
                                                                       teams are now engaged, but this required executive escalation to
                                                                                                                                      to get Apple
                                                                                                                                             Apple to prioritize
                working
                working with
                         with Google. Teams are working
                                                  working to determine which data
                                                                              data rights management protocol will
                                                                                                                 will be used (Apple would
                                                                                                                                     would prefer theirs,
                                                                                                                                                  theirs, Google
                would  prefer to
                would prefer  to use
                                 use ours).
                                     ours).

      •• Apple Music on Google HW: Active   negotiations
                                     Active negotiations
                Google and
             oo Google and Apple   teams have
                            Apple teams   have now
                                               now made
                                                    made significant  progress since
                                                          significant progress since Q4
                                                                                     Q4 2019
                                                                                         2019 when
                                                                                              when Apple agreed to
                                                                                                   Apple agreed to decouple
                                                                                                                   decouple Google's
                                                                                                                            Google's ask
                                                                                                                                     ask to  include Apple
                                                                                                                                         to include  Apple
                Music on Assistant HW from Apple's ask to enable Airplay on Google HW. Google expects to launch the Apple Music/
                                                                                                                             Music/Assistant
                                                                                                                                    Assistant integration in
                2020. For context:
                2020. For context: Apple
                                   Apple Music
                                          Music became
                                                became available
                                                         available on
                                                                   on Amazon   devices in
                                                                      Amazon devices   in Q4
                                                                                          Q4 2018
                                                                                             2018 and
                                                                                                  and Amazon  Music launched
                                                                                                      Amazon Music   launched on
                                                                                                                              on Apple TV in
                                                                                                                                 Apple TV  in Q4
                                                                                                                                              Q4 2019.
                                                                                                                                                 2019.

      •• Siri Suggest: Implementation
                       Implementation ongoing
                                        ongoing
              oo Apple
                 Apple decided to adjust the sites
                                                sites offered        Sin Suggested Sites to improve user quality. Apple found that
                                                      offered within Siri                                                          a"slew of query types [is] not
                                                                                                                              that a
                 doing
                 doing justice
                        justice to users". As aresult, Apple will
                                           As a                           20%-40% of diversions measured on Siri
                                                              will move ~20%-40%                               Sin suggestions to below the Google suggestions

                                                                                                                                                                             2
                                                                                                                                                                             2




NON-PARTY HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
                                         -                                                                                                                GOOG-PLAY-007036303

                                                                                                                                                             EXHIBIT 1493-003
                                             Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 4 of 9
                                                                                                           ATTORNEY-CLIENT PRIVILEGED &
                                                                                                           ATTORNEY-CLIENT PRIVILEGED &CONFIDENTIAL
                                                                                                                                        CONFIDENTIAL

                    within
                    within Safari beginning January 31, 2021.
                                                        2021. Apple
                                                              Apple will
                                                                    will also test other potential changes within
                                                                                                           within the
                                                                                                                  the Suggest feature over 2020 to develop more
                    fine-grained changes.
                    fine-grained changes.

        •• GCP Commitment
               Commitment:: Contract signed
              oo As
                 As part of Apple's purchasing strategy,
                                               strategy, Apple
                                                         Apple reaches out approximately every year toto renegotiate its Cloud pricing. In Q2 2020, Apple
                                                                                                                                                    Apple
                 increased its Google Cloud Storage
                                             Storage revenue commitment
                                                              commitment by              atotal
                                                                                      to a total contract value
                                                                                                          value of        , with
                                                                                                                            with a
                                                                                                                                 a   gross
                                                                                                                                     gross margin. The
                                                                                                                                                    The deal term
                 remains the          4years
                          the same at 4       10
                                        years 1 O months, ending July 31,
                                                                      31, 2023. In Q2 2020, Cloud also lost aabid against             to replace Apple's
                                                                                                                                                 Apple's existing
                                                                                                                                                         existing
                 Teradata
                 Teradata enterprise data warehouse,
                                          warehouse, due toto             feature availability.

        •• Safe Browsing API Discussions: Contract signed
               oo Apple and Google signed a   acontract in Q3 2020 to allow iOS developers to use Google's Safe Browsing API. Discussions on this ask in 2019
                   were not fruitful as Apple wanted to both control the Safe Browsing experience on iOS and pass legal liability for developer actions/issues to
                   Google.

  OPEN ASKS

           Apple asks of Google (ranked from highest to lowest benefit for Google)
          PA
          PA                                 Ask
                                             Ask                                                 Status
                                                                                                 Status                       Benefit to
                                                                                                                              Benefit    Google
                                                                                                                                      to Google   Risk to
                                                                                                                                                  Risk to Google
                                                                                                                                                          Google      Benefit to
                                                                                                                                                                      Benefit to Apple
                                                                                                                                                                                 Apple
                   Integrate YouTube
                   Integrate Youlube with
                                     with Apple
                                          Apple Video Partner
                                                Video Partner
       Youlube
       YouTube                                                              Declined
                                                                            Declined
                   Program
                   Program

                   Recurring asks
                   Recurring       to renegotiate
                             asks to  renegotiate the Cloud deal
                                                  the Cloud deal for
                                                                 for        Apple renegotiated
                                                                            Apple   renegotiated terms
                                                                                                 terms to receive a
                                                                                                       to receive abetter
                                                                                                                    better
        Cloud
        Cloud                                                                                                                       Low
                                                                                                                                    Low                Low
                                                                                                                                                       Low                 High
                                                                                                                                                                           High
                   more favorable
                   more            terms
                         favorable terms                                    rate in
                                                                            rate in Q2
                                                                                    Q2 2020
                                                                                        2020

                   Receive premium
                   Receive  premium placement
                                     placement of Apple Music
                                               of Apple Music across Apple appears
                                                              across Apple          to have
                                                                           appears to   have dropped
                                                                                             dropped this ask, but
                                                                                                     this ask, but
         HW
         HW                                                                                                                         Low
                                                                                                                                    Low                                    High
                                                                                                                                                                           High
                   Google Platforms
                   Google  Platforms                                 may escalate
                                                                     may escalate if
                                                                                  if it
                                                                                     it resurfaces
                                                                                        resurfaces
                                                                            Google is
                                                                            Google is determining if an
                                                                                      determining if an exception
                                                                                                        exception can
                                                                                                                  can be
                                                                                                                      be
                   Receive reports
                   Receive reports on
                                    on Google's
                                        Google's supplier sustainability
                                                 supplier sustainability
        Cloud
        Cloud                                                               made to
                                                                            made to grant
                                                                                     grant Apple
                                                                                           Apple access
                                                                                                 access to
                                                                                                         to these
                                                                                                            these                   Low
                                                                                                                                    Low
                   and diversity
                   and           efforts
                       diversity efforts
                                                                            agreements
                                                                            agreements
                   Allow GAS
                   Allow GAS vehicles
                             vehicles to concurrently run
                                      to concurrently run Siri
                                                          Siri and
                                                               and          Google evaluating
                                                                            Google evaluating whether to engage
                                                                                              whether to engage with
                                                                                                                with
    P&E (Auto)
    P&E (Auto)                                                                                                                      Low
                                                                                                                                    Low                                    High
                                                                                                                                                                           High
                   Google Assistant
                   Google           hotwords
                          Assistant hotwords                                Apple on
                                                                            Apple on this ask
                                                                                     this ask
                   Integrate the
                   Integrate the Google
                                  Google Assistant  with the
                                          Assistant with the Apple  store
                                                             Apple store
       Assistant
       Assistant   so queries
                   so  queries for purchasing Apple
                               for purchasing        HW route
                                               Apple HW   route the user
                                                                the user    Declined. No
                                                                            Declined. No current
                                                                                         current solution
                                                                                                 solution to
                                                                                                          to offer
                                                                                                             offer to
                                                                                                                   to Apple
                                                                                                                      Apple         Low
                                                                                                                                    Low                Low
                                                                                                                                                       Low
                   to the
                   to the Apple
                          Apple Store,
                                 Store, not
                                        not 3P merchants
                                            3P merchants

  ,.
   "7 Google asks of Apple (ranked from highest to lowest benefit for Google)
          PA
          PA                                    Ask
                                                Ask                                                Status
                                                                                                   Status                     Benefit to
                                                                                                                              Benefit to Google
                                                                                                                                         Google    Risk to
                                                                                                                                                   Risk    Apple
                                                                                                                                                        to Apple      Benefit to
                                                                                                                                                                      Benefit to Apple
                                                                                                                                                                                 Apple
                                                                                Fix ongoing:
                                                                                Fix ongoing: Safari
                                                                                             Safari Suggest
                                                                                                    Suggest is
                                                                                                            is moving
                                                                                                               moving
        Search
        Search     Remove Safari
                   Remove Safari suggest
                                 suggest features
                                         features from
                                                  from Apple
                                                       Apple                                                                        High
                                                                                                                                    High               Low
                                                                                                                                                       Low                  High
                                                                                                                                                                            High
                                                                                select responses below
                                                                                select responses  below Google's
                                                                                                        Google's
          HW
          HW       Enable Apple
                   Enable       Music on
                          Apple Music on Google
                                         Google Nest/Assistant
                                                Nest/Assistant devices
                                                               devices          Negotiation ongoing
                                                                                Negotiation ongoing                                 High
                                                                                                                                    High               Low
                                                                                                                                                       Low
    Android TV
    Android TV     Enable AppleTV+
                   Enable           on Android
                          Apple TV+ on Android TV devices
                                               TV devices                       Negotiation ongoing
                                                                                Negotiation ongoing                                 High
                                                                                                                                    High

                                                                                                                                                                                    3
                                                                                                                                                                                    3




NON-PARTY HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
                                            -                                                                                                                      GOOG-PLAY-007036304

                                                                                                                                                                    EXHIBIT 1493-004
                                           Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 5 of 9
                                                                                                         ATTORNEY-CLIENT PRIVILEGED &
                                                                                                                                    &CONFIDENTIAL


                  Improve interoperability
                  Improve  interoperability between
                                            between Android Messages and
                                                    Android Messages and A       h h. t .              t       d
      Comms
      Comms                                                              Apple
                                                                           pp Ie has
                                                                                  as historically   not engage
                                                                                      Is orica 11 y no   engaged                        High
                                                                                                                                        High                                           Low
                                                                                                                                                                                       Low
                  Google
                  G       Messages
                   oog Ie M essages
                  Reduce in-app
                  Reduce in-app purchase
                                purchase revenue
                                         revenue share
                                                 share (YT/Stadia)
                                                       (YT/Stadia)
                  Allow Cloud gaming
                  t~~~;i~loud gaming services
                                     services on iOS if
                                              on iOS if there is gameplay
                                                        there is gameplay No active negotiations on this topic (YT
     Youlube
     YouTube I/                                                           No active negotiations on this topic (VT
                  (Stadia)                                                                                                              High
                                                                                                                                        High                   High
                                                                                                                                                               High                    Low
                                                                                                                                                                                       Low
       Stadia
       Stadia                                                        .         has removed
                                                                               has removed IAP)
                                                                                           lAP)
                  Create MFI
                  Create MFI agreement
                             agreement to allow controller
                                       to allow controller to
                                                           to work with
                                                              work with
                  iPhone (Stadia)
                  iPhone (Stadia)
                  GAS to
                  GAS  to access   iPhone communication
                          access iPhone   communication features
                                                        features via
                                                                 via
                                                                               Google is
                                                                               Google  is engaging
                                                                                          engaging withwith OEMs
                                                                                                            OEMs and
                                                                                                                 and Apple
                                                                                                                     Apple
     P&E (Auto)
     P&E (Auto)   Bluetooth (call,
                  Bluetooth (call, messages)
                                   messages) when  aCarPlay
                                              when a         session is
                                                     CarPlay session is                                                                 High
                                                                                                                                        High                                           Low
                                                                                                                                                                                       Low
                                                                               about
                                                                               about this  initiative II
                                                                                     this initiative
                  active
                  active
                                                                               Apple  has given
                                                                               Apple has  given preliminary
                                                                                                 preliminary green
                                                                                                             green light
                                                                                                                   light to
                                                                                                                         to
                  YT would
                  YT  would like
                             like to
                                  to develop Picture-in-Picture (PiP)
                                     develop Picture-in-Picture (PiP) as
                                                                      as a
                                                                         a
        YT
        YT                                                                     develop  this feature,
                                                                               develop this           but Apple
                                                                                             feature, but       must
                                                                                                          Apple must                                            Low
                                                                                                                                                                Low
                  feature for
                  feature for YouTube    Premium subscribers.
                              YouTube Premium     subscribers.
                                                                               review the
                                                                               review the feature
                                                                                           feature before
                                                                                                   before launch
                                                                                                           launch
   Android Mobile Enable
   Android Mobile Enable Apple
                         AppleTV+  on Android
                               TV+ on         mobile devices
                                      Android mobile devices                   Apple has declined
                                                                               Apple has declined for
                                                                                                  for the
                                                                                                      the short
                                                                                                          short term
                                                                                                                term                                                                   Low
                                                                                                                                                                                       Low



  RELATIONSHIP MAP




  - Status         Product
                   Product



                  Ads
                  Ads (GCAS)
                      {GCAS)
                                    DVIP: The
                                    DVIP:

                                    Apple
                                               GCAS team
                                          The GCAS
                                               for CY
                                             ) for
                                          spend with
                                    Apple spend
                                        •. 2019:
                                            2019:
                                                      team signed
                                                   CY 2020.
                                                           signed a
                                                       2020. This
                                                                     DVIP with
                                                                   a DVIP
                                                             This would
                                                  with Google:
                                                       Google:
                                                                           with Apple
                                                                  would result
                                                                        result in

                                                                        //2018:
                                                                      ) // 2018:
                                                                                 Apple with
                                                                                in a
                                                                                             aTier
                                                                                        with a
                                                                                   aglobal
                                                                                               Tier One
                                                                                            discount of
                                                                                     global discount  of 24%
                                                                                                             Context
                                                                                                             Context

                                                                                                    One commitment
                                                                                                        commitment of
                                                                                                              and 25%
                                                                                                         24% and

                                                                                                          //2017:
                                                                                                          // 2017:
                                                                                                                      of                    and a
                                                                                                                                            and aTier
                                                                                                                       respectively. Negotiations
                                                                                                                   25% respectively. Negotiations for
                                                                                                                                                       Two commitment
                                                                                                                                                  Tier Two commitment of
                                                                                                                                                      2021 are
                                                                                                                                                  for 2021 are in
                                                                                                                                                               in place
                                                                                                                                                                         of
                                                                                                                                                                  place as
                                                                                                                                                                        as of
                                                                                                                                                                           of Q4
                                                                                                                                                                              Q4 2020.
                                                                                                                                                                                 2020.




                                    DV360 Deal:
                                    DV360  Deal: OMO
                                                 OMD (Apple's
                                                     (Apple's agency)
                                                              agency) signed a
                                                                      signed a              deal to shift
                                                                                            deal to shift Apple's direct publisher
                                                                                                          Apple's direct publisher reservation buys to
                                                                                                                                   reservation buys to Programmatic
                                                                                                                                                       Programmatic Guaranteed
                                                                                                                                                                    Guaranteed in
                                                                                                                                                                               in
                  Ads (GMP)
                  Ads (GMP)
                                    DV360.
                                    DV360.


                                    Ad Manager/Apple
                                    Ad Manager/         News: Ad
                                                 Apple News:   Ad Manager
                                                                  Manager publishers
                                                                          publishers on
                                                                                     on Apple
                                                                                        Apple News
                                                                                              News can
                                                                                                   can use
                                                                                                       use their
                                                                                                           their existing Ad Manager
                                                                                                                 existing Ad Manager accounts
                                                                                                                                     accounts to
                                                                                                                                              to traffic
                                                                                                                                                 traffic direct display and
                                                                                                                                                         direct display and
                  Ads (LPS)
                  Ads (LPS)
                                    video ads within
                                    video ads within the
                                                     the Apple News app
                                                         Apple News  app


                                    Assistant: Apple wants
                                    Assistant: Apple wants to integrate the
                                                           to integrate     Google Assistant
                                                                        the Google  Assistant with
                                                                                              with the
                                                                                                    the Apple
                                                                                                        Apple store
                                                                                                              store to
                                                                                                                    to more
                                                                                                                       more seamlessly
                                                                                                                             seamlessly allow   users to
                                                                                                                                          allow users    purchase Apple
                                                                                                                                                      to purchase       HW (e.g.
                                                                                                                                                                  Apple HW (e.g.
                   Assistant
                   Assistant
                                    "Hey Google,
                                    "Hey Google, buy
                                                 buy an iPad from
                                                     an iPad from the
                                                                   the Apple store). Google
                                                                       Apple store). Google does
                                                                                            does not
                                                                                                   not yet
                                                                                                       yet have
                                                                                                           have a
                                                                                                                atechnical
                                                                                                                  technical solution for this
                                                                                                                            solution for      ask.
                                                                                                                                         this ask.


                                    Google spend
                                    Google spend with
                                                 with Apple: 2020 YTD
                                                      Apple: 2020 YTD Google
                                                                      Google spend:
                                                                             spend:                   II 2019
                                                                                                      // 2019 Google
                                                                                                              Google Spend:
                                                                                                                     Spend: est
                                                                                                                            est             (-20% YoY)
                                                                                                                                            (-20%      II 2018
                                                                                                                                                  YoY) // 2018 Google
                                                                                                                                                               Google Spend:
                                                                                                                                                                      Spend: est
                                                                                                                                                                             est
                   Corp Eng
                   Corp Eng
                                    (+27% YoY)
                                    (+27% YoY)

                                    GCP Deal:
                                    GCP  Deal: Apple    increased its
                                                Apple increased    its Google
                                                                       Google Cloud
                                                                               Cloud Storage
                                                                                       Storage revenue
                                                                                               revenue commitment
                                                                                                        commitment by  by         to
                                                                                                                                  to a total contract
                                                                                                                                     a total contract value
                                                                                                                                                      value of
                                                                                                                                                             of        ,, with
                                                                                                                                                                          with aa    gross
                                                                                                                                                                                     gross
                                    margin. The
                                    margin.      deal term
                                            The deal          remains the
                                                       term remains    the same
                                                                           same atat 4
                                                                                     4years  10 months,
                                                                                       years 10 months, ending
                                                                                                         ending July   31, 2023.
                                                                                                                  July 31, 2023. This  includes a
                                                                                                                                 This includes  a          commit for
                                                                                                                                                           commit        compute/non-
                                                                                                                                                                    for compute/non-
                     Cloud
                     Cloud          storage services.
                                    storage  services.
                                    Apple investment
                                    Apple  investment in in GCP
                                                            GCP framework:
                                                                 framework: Apple
                                                                              Apple invested
                                                                                      invested resources
                                                                                               resources to  build a
                                                                                                          to build aGCP
                                                                                                                     GCP framework
                                                                                                                           framework toto allow
                                                                                                                                          allow all
                                                                                                                                                all work
                                                                                                                                                    work teams
                                                                                                                                                         teams atat Apple
                                                                                                                                                                    Apple to   use Google
                                                                                                                                                                            to use  Google
                                    Cloud, similar
                                    Cloud, similar to
                                                   to what
                                                      what they
                                                             they have
                                                                  have in  place for
                                                                        in place for AWS.
                                                                                     AWS. Apple
                                                                                            Apple has
                                                                                                  has identified
                                                                                                      identified first mover workloads
                                                                                                                 first mover  workloads which    they plan
                                                                                                                                          which they  plan to
                                                                                                                                                            to take
                                                                                                                                                               take to pilot in
                                                                                                                                                                    to pilot  in Sept/Oct,
                                                                                                                                                                                 Sept/Oct,

                                                                                                                                                                                             4
                                                                                                                                                                                             4




NON-PARTY HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
                                           -                                                                                                                              GOOG-PLAY-007036305

                                                                                                                                                                             EXHIBIT 1493-005
                                          Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 6 of 9
                                                                                                        ATTORNEY-CLIENT PRIVILEGED &
                                                                                                                                   &CONFIDENTIAL


                                  with the broader
                                  with the broader GCP@Apple
                                                   GCPApple platform
                                                             platform going
                                                                      going GA in Nov
                                                                            GA in Nov 2020.
                                                                                      2020.




                                  Messaging asks:
                                  Messaging          Comms
                                               asks: Com       would like
                                                            ms would like to
                                                                          to engage  with Apple
                                                                             engage with        on messaging
                                                                                          Apple on messaging interoperability
                                                                                                              interoperability and  integrating Apple's
                                                                                                                               and integrating          Business Chat
                                                                                                                                                Apple's Business Chat (ABC)
                                                                                                                                                                      (ABC) into
                                                                                                                                                                            into
                 Comms
                 Comms            Search so
                                  Search  so users
                                              users can
                                                    can message
                                                         message businesses
                                                                   businesses via
                                                                                via ABC
                                                                                    ABC
                                  Project Fi:
                                  Project Fi: Google
                                              Google Fi
                                                      Fi is
                                                         is working
                                                            working on
                                                                    on aadeal
                                                                          deal with
                                                                               with Apple
                                                                                    Apple to purchase devices
                                                                                          to purchase devices (iPhones)
                                                                                                              (iPhones) to
                                                                                                                         to resell
                                                                                                                            resell to Google Fi
                                                                                                                                   to Google  Fl customers.
                                                                                                                                                 customers.

                              Communication flow
                              Communication      flow between
                                                       between companies:
                                                                 companies: Google
                                                                                 Google often
                                                                                          often struggles
                                                                                                  struggles to   get critical
                                                                                                              to get           information and
                                                                                                                     critical information   and updates
                                                                                                                                                 updates from
                                                                                                                                                           from Apple,  including details
                                                                                                                                                                 Apple, including  details about
                                                                                                                                                                                           about
                              product changes
                              product             (e.g., the
                                        changes (e.g.,   the impact
                                                             impact ofof iOS
                                                                         iOS 14),
                                                                              14), the
                                                                                   the right
                                                                                       right point
                                                                                              point of
                                                                                                     of contact
                                                                                                        contact for   key projects,
                                                                                                                  for key   projects, and
                                                                                                                                      and timely
                                                                                                                                           timely replies.
                                                                                                                                                  replies.
                              Google Apps
                              Google   Apps on
                                             on iOS:
                                                 iOS: Google
                                                       Google has
                                                                has —100
                                                                     ~100 apps     published on
                                                                            apps published      on the  iOS app
                                                                                                   the iOS   app store,   including 3
                                                                                                                  store, including   3of
                                                                                                                                       of the
                                                                                                                                          the top
                                                                                                                                              top 10
                                                                                                                                                  10 iOS
                                                                                                                                                      iOS non-native
                                                                                                                                                           non-native apps   by MAU
                                                                                                                                                                       apps by  MAU (YouTube,
                                                                                                                                                                                      (Youlube,
          Developer Relations
          Developer Relations Google
                              Google Maps,
                                       Maps, Gmail).
                                              Gmail).
                              Stadia: Stadia
                              Stadia:  Stadia recently
                                              recently launched
                                                          launched in
                                                                    in the
                                                                       the iOS
                                                                           iOS app
                                                                                 app store,
                                                                                     store, which
                                                                                             which garnered
                                                                                                     garnered more
                                                                                                                 more attention
                                                                                                                        attention at
                                                                                                                                   at Apple
                                                                                                                                      Apple than
                                                                                                                                             than usual,
                                                                                                                                                   usual, given
                                                                                                                                                           given Apple's
                                                                                                                                                                 Apple's similar
                                                                                                                                                                          similar Apple
                                                                                                                                                                                  Apple Arcade
                                                                                                                                                                                         Arcade
                              offering. Given
                              offering.  Given challenging
                                               challenging economics
                                                              economics around
                                                                           around Apple's
                                                                                     Apple's inin app
                                                                                                  app billing
                                                                                                       billing and
                                                                                                               and Apple's
                                                                                                                    Apple's removal
                                                                                                                              removal ofof Cloud  Gaming services
                                                                                                                                           Cloud Gaming     services from
                                                                                                                                                                     from the  app store,
                                                                                                                                                                           the app  store,
                              Stadia has
                              Stadia  has not
                                           not implemented
                                               implemented GamePlay
                                                               GamePlay in  in its
                                                                               its app.
                                                                                   app.

                              Unity Alliance:
                              Unity  Alliance: The Apple Home
                                               The Apple   Home andand Nest
                                                                        Nest teams    are working
                                                                              teams are   working together  (with Amazon)
                                                                                                   together (with Amazon) toto create
                                                                                                                               create a unified smart
                                                                                                                                      a unified          home networking
                                                                                                                                                  smart home    networking protocol,
                                                                                                                                                                           protocol,
          Device and Services
          Device and Services giving
                              giving  Google
                                      Google  a
                                              a path
                                                path  to
                                                      to being
                                                         being  ranged
                                                                ranged  again
                                                                        again   in
                                                                                in Apple
                                                                                   Apple stores.
                                                                                         stores. (Apple
                                                                                                 (Apple  used
                                                                                                         used to
                                                                                                              to range
                                                                                                                 range  Google
                                                                                                                        Google HW
                                                                                                                               HW   devices
                                                                                                                                    devices  in
                                                                                                                                             in its
                                                                                                                                                its stores,
                                                                                                                                                    stores, but
                                                                                                                                                            but  stopped
                                                                                                                                                                stopped  because
                                                                                                                                                                         because  we
                                                                                                                                                                                  we
                              were
                              were working   on separate
                                    working on   separate protocols.)
                                                            protocols.)
              (Hardware)
              (Hardware)
                              Assistant:  Google and
                              Assistant: Google   and Apple
                                                        Apple are
                                                               are working   towards integrating
                                                                   working towards     integrating Apple  Music with
                                                                                                   Apple Music        Google 1
                                                                                                                 with Google  1P
                                                                                                                               PAssistant
                                                                                                                                 Assistant devices
                                                                                                                                            devices (Google
                                                                                                                                                      (Google Nest
                                                                                                                                                                Nest Hub
                                                                                                                                                                     Hub devices)
                                                                                                                                                                         devices)
                              Android
                              Android TV:   Google and
                                        TV: Google   and Apple   are in
                                                          Apple are  in active
                                                                        active negotiations
                                                                                 negotiations to
                                                                                              to integrate
                                                                                                 integrate Apple
                                                                                                           AppIeTV+
                                                                                                                 TV+ with  Android TV
                                                                                                                      with Android     device
                                                                                                                                   TV device
                  GAPP
                  GAPP
                                  Contact Tracing:
                                  Contact  Tracing: As part of
                                                    As part of the  COVID-19 response,
                                                               the COVID-19    response, Google
                                                                                          Google and
                                                                                                  and Apple are working
                                                                                                      Apple are working together
                                                                                                                         together to
                                                                                                                                  to enable abroader
                                                                                                                                     enable a broader Bluetooth-based
                                                                                                                                                      Bluetooth-based contact
                                                                                                                                                                      contact
            (Govt. Affairs
            (Govt. Affairs &
                           &
                                  tracing platform by
                                  tracing platform by building
                                                      building this
                                                               this functionality
                                                                     functionality into
                                                                                   into Android and iOS
                                                                                        Android and iOS respectively
                                                                                                        respectively (Joint
                                                                                                                     (Joint announcement)
                                                                                                                            announcement)
             Public Policy)
             Public Policy)


                   Geo
                   Geo            Google Maps
                                  Google Maps on
                                              on CarPlay:
                                                 CarPlay: Google
                                                          Google Maps
                                                                 Maps is
                                                                      is available
                                                                         available on
                                                                                   on Apple's CarPlay system
                                                                                      Apple's CarPlay system



                                  [issue] App Promotion
                                  [Issue] App Promotion Google would
                                                               would like Apple to promote Google apps,
                                                                                                  apps, especially
                                                                                                        especially GSA and
                                                                                                                       and Chrome, more frequently
                                                                                                                                        frequently within the iOS app
               Marketing
               Marketing
                                  store.
                                  store.


                                  Project Cache:
                                  Project Cache: Payments
                                                 Payments is  developing a
                                                           is developing aGPay
                                                                           GPay (Visa)
                                                                                  (Visa) card
                                                                                         card that
                                                                                              that allows Google Pay
                                                                                                   allows Google Pay users
                                                                                                                     users to   use their
                                                                                                                             to use their GPay  stored value
                                                                                                                                          GPay stored        balance to
                                                                                                                                                       value balance to make
                                                                                                                                                                        make
               Payments
               Payments
                                  payments at
                                  payments  at merchants
                                               merchants that accept Visa
                                                         that accept       and is
                                                                     Visa and  is discussing
                                                                                  discussing with
                                                                                              with Apple
                                                                                                   Apple whether
                                                                                                          whether Apple
                                                                                                                  Apple will  place this
                                                                                                                        will place       card within
                                                                                                                                    this card within Apple Pay
                                                                                                                                                     Apple Pay


                                  GAS/CarPlay: Google
                                  GAS/CarPlay:  Google Automotive    Services would
                                                        Automotive Services          like to
                                                                              would like  to access
                                                                                             access iPhone
                                                                                                    [Phone communication
                                                                                                            communication features
                                                                                                                            features via
                                                                                                                                      via Bluetooth
                                                                                                                                          Bluetooth (call,
                                                                                                                                                    (call, messages)
                                                                                                                                                           messages) when
                                                                                                                                                                        when aa
     •
     •       P&E (Android)
             P&E (Android)        CarPlay session
                                  CarPlay         is active.
                                          session is
                                  user disconnects
                                  user
                                                     active. Right
                                                    CarPlay.
                                       disconnects CarPlay.
                                                             Right now,
                                                                   now, in
                                                                        in Google
                                                                           Google Automotive
                                                                                  Automotive Services
                                                                                               Services vehicles,
                                                                                                        vehicles, iPhone
                                                                                                                  iPhone users
                                                                                                                         users will not be
                                                                                                                               will not be able
                                                                                                                                           able to
                                                                                                                                                to make    calls via
                                                                                                                                                   make calls    via 0KG,
                                                                                                                                                                     0KG, unless
                                                                                                                                                                          unless the
                                                                                                                                                                                 the


             Research and
             Research and
                Machine
                Machine           CoreML version
                                  CoreML         2launched
                                         version 2 launched with
                                                            with support for TensorFlow
                                                                 support for TensorFlow
              Intelligence
              Intelligence




                                                                                                                                                                                                   5
                                                                                                                                                                                                   5




NON-PARTY HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
                                         -                                                                                                                                 GOOG-PLAY-007036306

                                                                                                                                                                              EXHIBIT 1493-006
                                        Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 7 of 9
                                                                                                      ATTORNEY-CLIENT PRIVILEGED &
                                                                                                                                 &CONFIDENTIAL



                               iOS /IMaces
                               iOS   MacOS Search
                                            Search entry  point
                                                    entry point
                   Search
                   Search
                               Watch
                               Watch Actions:  Search would
                                      Actions: Search        like to
                                                      would like     bring AppleTV
                                                                  to bring Apple TV content (excluding AppleTV+)
                                                                                    content (excluding            onto Search's
                                                                                                       Apple TV+) onto Search's What
                                                                                                                                What to
                                                                                                                                     to Watch feature.
                                                                                                                                        Watch feature.



                    Waze
                    Waze       Waze on CarPlay:
                               Waze on CarPlay: Waze is available
                                                Waze is available on
                                                                  on Apple's CarPlay system
                                                                     Apple's CarPlay system


                               Watchtime     statistics:
                               Watchtime statistics:
                                     •• Mobile
                                          Mobile (iOS):
                                                    (iOS): YouTube
                                                            YouTube main       app: 275M
                                                                        main app:           Hrs!day WI
                                                                                     275M Hrs/day     WT avgavg WT
                                                                                                                 WI over       last 30
                                                                                                                       over last    30 days;   YouTube TV
                                                                                                                                        days; YouTube     TV on   iOS: ~16%
                                                                                                                                                              on iOS:  —16% ofof total   YTV revenue;
                                                                                                                                                                                  total YTV     revenue;
                                          —21%
                                          ~21     of total
                                               % of         YTV subscribers
                                                     total YTV    subscribers (183K)
                                                                                 (183K)
                                     •• Apple
                                          Apple TV     (tvOS); YouTube
                                                  TV (tvOS);    YouTube Living
                                                                            Living Room
                                                                                    Room app:
                                                                                            app: 5.6M
                                                                                                 5.6M hrs/day;
                                                                                                         hrs!day; 24%24% YoY       growth (slower
                                                                                                                           YoY growth       (slower YoY
                                                                                                                                                      YoY growth    than Roku,
                                                                                                                                                           growth than    Roku, 49%,    and many
                                                                                                                                                                                 49%, and      many other
                                                                                                                                                                                                      other LRLR
                                          devices). YouTube
                                          devices).   YouTube TV: TV: Apple
                                                                       Apple TVTV comprises
                                                                                   comprises 9.15%
                                                                                                9.15% ofof YTV
                                                                                                             YTV watch-time,
                                                                                                                  watch-time, with        an average
                                                                                                                                    with an   average ofof 5.02
                                                                                                                                                           5.02 hrs
                                                                                                                                                                 hrs of WI! DAV.
                                                                                                                                                                     of WT/    DAy.
                               Airplay: YouTube
                               AirPlay:  YouTube supports
                                                      supports AirPlay     for Apple
                                                                 AirPlay for   Apple devices
                                                                                       devices
                               YouTube
                               VouTube appsapps on
                                                 on AppIeTV      Devices: YouTube
                                                      AppleTV Devices:                   informed Apple
                                                                             YouTube informed                that the
                                                                                                    Apple that    the YouTube
                                                                                                                       YouTube Main  Main app
                                                                                                                                            app onon Apple   TV Gen
                                                                                                                                                      Apple TV  Gen 3 3devices
                                                                                                                                                                        devices will   be deprecated
                                                                                                                                                                                  will be  deprecated in  in
                               mid-September. YouTube
                               mid-September.      YouTube Main,Main, YouTube
                                                                       YouTube TV, TV, and
                                                                                        and YouTube     Kids apps
                                                                                             YouTube Kids      apps will     be supported
                                                                                                                       will be   supported on  on Apple
                                                                                                                                                  Apple TV
                                                                                                                                                         TV Gen
                                                                                                                                                              Gen 44 and  Gen 5,
                                                                                                                                                                     and Gen   5, and
                                                                                                                                                                                   and on
                                                                                                                                                                                        on the    upcoming
                                                                                                                                                                                             the upcoming
                               Gen 6
                               Gen   6device.
                                       device.
                  YouTube
                  VouTube      Picture-in-Picture: After several discussions
                               Picture-in-Picture:                      discussions with
                                                                                       with Apple
                                                                                             Apple about our desire
                                                                                                                  desire to to build Picture-in-Picture (PiP) as a    afeature forfor YouTube
                                                                                                                                                                                      YouTube Premium
                               subscribers, Apple
                               subscribers,   Apple hashas given
                                                             given us
                                                                    us the
                                                                       the green-light.    Apple will
                                                                            green-light. Apple   will still  need to
                                                                                                      still need       review the
                                                                                                                   to review      the actual
                                                                                                                                      actual implementation
                                                                                                                                               implementation whenwhen wewe submit
                                                                                                                                                                             submit ourour binary
                                                                                                                                                                                             binary to  make
                                                                                                                                                                                                     to make
                               afinal
                               a final determination.
                                       determination.
                               "Brands as
                               "Brands       Creators" Program:
                                          as Creators"     Program: TheThe Brands
                                                                             Brands asas Creators
                                                                                          Creators team
                                                                                                    team sits
                                                                                                            sits within
                                                                                                                 within YouTube
                                                                                                                          YouTube Content
                                                                                                                                        Content Partnerships
                                                                                                                                                   Partnerships and    provides Partner
                                                                                                                                                                  and provides    Partner Manager
                                                                                                                                                                                              Manager
                               support in
                               support   in order
                                            order to
                                                   to improve
                                                       improve Apple's
                                                                  Apple's organic     content for
                                                                            organic content        users, increase
                                                                                               for users,    increase their
                                                                                                                        their watch
                                                                                                                                watch time,
                                                                                                                                        time, and    grow their
                                                                                                                                                and grow         engagement with
                                                                                                                                                           their engagement            the platform.
                                                                                                                                                                                 with the    platform.
                               Channels managed
                               Channels    managed by   by the
                                                            the BaC
                                                                BaC program
                                                                      program include~.
                                                                                  include Apple, Beats
                                                                                                   Beats by by Dre
                                                                                                               Dre, and
                                                                                                                     and Apple      Music (note:
                                                                                                                           Apple Music       (note: Apple   TV+ is
                                                                                                                                                     Apple TV+   is managed
                                                                                                                                                                    managed by  by YouTube's
                                                                                                                                                                                    Youlube's Film Film &
                                                                                                                                                                                                        &TV
                                                                                                                                                                                                          TV
                               vertical).  Example of
                               vertical). Example      of the  partnership: Apple
                                                          the partnership:    Apple shifted
                                                                                      shifted the  livestream of
                                                                                               the livestream         their fall
                                                                                                                  of their         announcement event
                                                                                                                              fall announcement       event from
                                                                                                                                                             from Twitter
                                                                                                                                                                   Twitter to
                                                                                                                                                                            to YouTube
                                                                                                                                                                               YouTube in       Sept. 2019
                                                                                                                                                                                            in Sept.   2019
                               after partnering
                               after  partnering closely
                                                   closely with    the Brands
                                                             with the  Brands as as Creators
                                                                                     Creators team.
                                                                                               team. The      livestream
                                                                                                      The livest             brought in
                                                                                                                    ream brought       in 1.8M
                                                                                                                                           1.8M peak
                                                                                                                                                  peak concurrents
                                                                                                                                                        concurrents (11.5M
                                                                                                                                                                       (11 .5M total
                                                                                                                                                                                total views),
                                                                                                                                                                                       views), making
                                                                                                                                                                                                  making itit
                               the  5th most
                               the 5th  most successful
                                               successful livestream
                                                              livestream on on YT
                                                                                YT and   generating $2.1
                                                                                    and generating           M in incremental
                                                                                                      $2.1 Min     incremental paid  paid media
                                                                                                                                           media spend.
                                                                                                                                                    spend. Apple   has continued
                                                                                                                                                            Apple has   continued live
                                                                                                                                                                                     live streaming
                                                                                                                                                                                          streaming their
                                                                                                                                                                                                        their
                               events on
                               events   on YT
                                            YT in
                                               in 2020.
                                                   2020.



  INTERNAL ANALYSES ON APPLE'S TREATMENT OF 1
                                            1PP VS. 3P APPS


   Name and Link

   Project Honeycrisp
   Project Honeycrisp        -
                             Team

                             BizOps
                             BizOps
                                            Description

                                            Purpose: What
                                            Purpose:  What can
                                            Background: The
                                            Background:
                                            premium share
                                            premium
                                                            can Google

                                                      share at
                                            Strategy team,
                                            Strategy
                                                            at an
                                                                 Google do
                                                          The BizOps
                                                                        do without
                                                               BizOps team
                                                                           without assistance
                                                                      team kicked
                                                               an accelerated
                                                                  accelerated pace
                                                           prowth team
                                                     team growth   team &
                                                                               pace due
                                                                         &central
                                                                                          to the
                                                                                     due to
                                                                           central iOS
                                                                                                 from Apple
                                                                                    assistance from
                                                                            kicked off
                                                                                    off a
                                                                                        anew
                                                                                          new project
                                                                                                 iPhone 11
                                                                                             the iPhone
                                                                                   iOS "squad"   who are
                                                                                        "squad" who
                                                                                                              to increase
                                                                                                       Apple to
                                                                                               project to
                                                                                                       to develop
                                                                                                                 increase engagement
                                                                                                          develop a
                                                                                                          11 launch
                                                                                                      are tackling
                                                                                                                           engagement and
                                                                                                                      Google x-PA
                                                                                                                    a Google
                                                                                                             launch &&Huawei
                                                                                                           tackling different
                                                                                                                              x-PA iOS
                                                                                                                        Huawei Android
                                                                                                                              parts of
                                                                                                                    different parts
                                                                                                                                          and monetization
                                                                                                                                              monetization of
                                                                                                                                    iOS strategy (context is
                                                                                                                                        strategy (context
                                                                                                                                Android ban).
                                                                                                                                         ban). They
                                                                                                                                               They plan
                                                                                                                                       this question.
                                                                                                                                    of this question.
                                                                                                                                                     plan to
                                                                                                                                                             of Google
                                                                                                                                                                Google services
                                                                                                                                                           is that
                                                                                                                                                              that Apple
                                                                                                                                                          to work
                                                                                                                                                                         services on
                                                                                                                                                                   Apple is
                                                                                                                                                              work with
                                                                                                                                                                                   on iOS.
                                                                                                                                                                          is gaining
                                                                                                                                                                             gaining
                                                                                                                                                                         the Android
                                                                                                                                                                    with the  Android
                                                                                                                                                                                      10S.




   Apple 1
   Apple 1PPand
            and 3P
                3P apps
                   apps on
                        on   Top
                             Top            Purpose: Identify
                                            Purpose:  Identify Google's
                                                               Google's priority
                                                                          priority asks
                                                                                    asks of
                                                                                         of Apple
                                                                                             Apple with  regards to
                                                                                                    with regards   to the  Google app
                                                                                                                       the Google      experience on
                                                                                                                                  app experience     iOS, with
                                                                                                                                                  on iOS, with a focus on
                                                                                                                                                               a focus  on Apple's
                                                                                                                                                                           Apple's
   iOS                       Partners
                             Partners       developer policies
                                            developer  policies and
                                                                and interoperability    between Apple
                                                                     interoperability between     Apple and
                                                                                                          and Google
                                                                                                               Google apps.
                                                                                                                         apps.
                                             Note: Apple
                                            Note:         Developer Relations
                                                   Apple Developer    Relations isis leading
                                                                                     leading an
                                                                                              an internal
                                                                                                 internal initiative
                                                                                                           initiative to prepare Google's
                                                                                                                      to prepare Google's apps
                                                                                                                                          apps (including
                                                                                                                                               (including Maps,
                                                                                                                                                           Maps, Gmail,
                                                                                                                                                                  Gmail, and
                                                                                                                                                                         and Calendar)
                                                                                                                                                                             Calendar) to
                                                                                                                                                                                       to
                                            be set
                                            be set as
                                                   as defaults
                                                      defaults on
                                                                on iOS,
                                                                   iOS, if
                                                                        if Apple   allows this
                                                                           Apple allows    this with iOS 14
                                                                                                with iOS  14 (expected
                                                                                                              (expected September
                                                                                                                           September 2020).
                                                                                                                                      2020).



  APPENDIX
  APPENDIX A:
           A: RECENT COMPANY NEWS


                                                                                                                                                                                                                   6
                                                                                                                                                                                                                   6




NON-PARTY HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
                                        -                                                                                                                                                GOOG-PLAY-007036307

                                                                                                                                                                                            EXHIBIT 1493-007
                                                Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 8 of 9
                                                                                                              ATTORNEY-CLIENT PRIVILEGED &
                                                                                                                                         &CONFIDENTIAL


  Apple Earnings Snapshot
  On October
  On  October 29,
                29, Apple
                    Apple reported
                          reported Q4
                                   Q4 FY'20
                                       FY'20 earnings
                                               earnings (quarter
                                                        (quarter ending
                                                                  ending 9/30/20)
                                                                         9/30/20) with
                                                                                  with $64.713  revenue (+1
                                                                                       $64.7B revenue   (+1%  YoY), surpassing
                                                                                                            % YoY),            analysts' expectations
                                                                                                                    surpassing analysts' expectations of
                                                                                                                                                       of $63.7B.
                                                                                                                                                          $63.713. Unlike
                                                                                                                                                                   Unlike
  prior years,
        years, this
               this quarter's earnings do not include revenue from
                                                                 from the new iPhone 12, as
                                                                                          as it launched in October. The Mac and Services segments reached all-time
         ($9.OB and $14.5B
  highs ($9.0B        $14.513 respectively), while
                                             while sales in greater China decreased 28%. Apple
                                                                                          Apple did not provide QiQ1 guidance or forecasts, citing uncertainty due
                                                                                                                                                               due to the
  pandemic.

      •• Revenue: $64.7.7B
                  $64.7.713 (+1% YoY)
                                  YoY)
                        $26.413 (-21%
            oo iPhone: $26.4B   (-21%YoY)
                                       YoY)
            oo Mac: $9.013
                      $9.0B (+29% YoY)
            oo iPad: $7.913
                      $7.9B (+46% YoY)
            oo Wearables,
                Wearables, Home, and Accessories:    $7.913 ((+21%
                                        Accessories: $7.9B    +21 % YoY)
                                                                    YoY)
                Services: $14.5B
            oo Services:  $14.513 (16%
                                  (16% YoY)
                                        YoY)


  APPENDIX B: APPLE ORG CHART


   Partner Business Unit                    I           PoC Name &
                                                Partner Poe      & Title                                                        PoC Name
                                                                                                                         Google Poe

   CEO
   CEO                                          Tim Cook, CEO
                                                Tim Cook, CEO                                                            Sundar Pichai
                                                                                                                         Sundar Pichai

   Legal
   Legal                                        Katharine Adams,
                                                Katharine        SVP and
                                                          Adams, SVP and General
                                                                         General Counsel
                                                                                 Counsel                                 Kent Walker
                                                                                                                         Kent Walker

   Eng
   Eng                                          Craig Federighi, SVP
                                                Craig Federighi, SVP Software
                                                                     Software Engineering
                                                                              Engineering                                Hiroshi Lockheimer
                                                                                                                         Hiroshi Lockheimer

   AI/ML
   Al/ML                                        John Giannandrea,
                                                John Giannandrea, SVP
                                                                  SVP Machine
                                                                      Machine Learning
                                                                              Learning and
                                                                                       and Al
                                                                                           Al Strategy
                                                                                              Strategy                   Jeff Dean
                                                                                                                         Jeff Dean



   Finance
   Finance                                      Luca Maestri,
                                                Luca Maestri, SVP
                                                              SVP and CFO
                                                                  and CFO                                                Ruth Porat
                                                                                                                         Ruth Porat


   People Ops
   People Ops                                   Deirdre O'Brien,
                                                Deirdre O'Brien, SVP,
                                                                 SVP, Retail+
                                                                      Retail + People
                                                                               People                                    Eileen Naughton
                                                                                                                         Eileen Naughton

   HW Eng
   HW Eng                                       Dan Riccio,
                                                Dan Riccio, SVP,
                                                            SVP, Hardware
                                                                 Hardware Engineering
                                                                          Engineering                                    Suveer Kothari
                                                                                                                         Suveer Kothari
                                                Johny
                                                Johny Srouji, SVP, Hardware
                                                      Srouji, SVP, Hardware Tech
                                                                            Tech

   Marketing
   Marketing                                    Greg (Joz) Joswiak,
                                                Greg (Joz) Joswiak, SVP,
                                                                    SVP, Worldwide Marketing
                                                                         Worldwide Marketing                             Lorainne Twohill
                                                                                                                         Lorainne Twohill

   Cloud
   Cloud                                        Mary Demby,
                                                Mary Demby, CIO
                                                            CIO                                                          Thomas Kurian
                                                                                                                         Thomas Kurian

   Services (including
   Services (including integrations
                        integrations with
                                     with       Eddy Cue,
                                                Eddy Cue, SVP
                                                          SVP Internet
                                                              Internet Software
                                                                       Software and
                                                                                and Services
                                                                                    Services                                 ••   Philipp Schindler
                                                                                                                                  Philipp  Schindler (partnerships
                                                                                                                                                     (partnerships including
                                                                                                                                                                   including HW)
                                                                                                                                                                             HW)
   YouTube, HW
   YouTube,  HW etc.)
                  etc.)                                                                                                      ••   Susan Wojcicki
                                                                                                                                  Susan   Wojcicki (YouTube)
                                                                                                                                                   (YouTube)

   Video, News,
   Video, News, Books,
                 Books, iCloud,
                        iCloud,                 Peter Stern,
                                                Peter Stern, VP (Video, News,
                                                             VP (Video, News, Books,
                                                                              Books, iCloud,
                                                                                     iCloud, and
                                                                                             and Advertising
                                                                                                 Advertising Services)
                                                                                                             Services)   Don Harrison
                                                                                                                         Don Harrison
   Advertising Services
   Advertising Services



                                                                                                                                                                                   7
                                                                                                                                                                                   7




NON-PARTY HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
                                            -                                                                                                                   GOOG-PLAY-007036308

                                                                                                                                                                   EXHIBIT 1493-008
                              Case 3:20-cv-05671-JD Document 623-2 Filed 12/21/23 Page 9 of 9
                                                                                            ATTORNEY-CLIENT PRIVILEGED &
                                                                                                                       &CONFIDENTIAL



   Operations                                                          Operations
                                 Jeff Williams, COO// Sabih Khan, SVP, Operations      N/A




                                                                                                                                   8
                                                                                                                                   8




NON-PARTY HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY
                             -                                                                                      GOOG-PLAY-007036309

                                                                                                                      EXHIBIT 1493-009
